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      In The United States Court of Federal Claims
                                        No. 12-229C

                                    (Filed: June 1, 2012)
                                         __________
 SOTO CONSTRUCTION COMPANY,
 INC.,

                      Plaintiff,

        v.

 THE UNITED STATES,

                      Defendant.
                                         __________

                                          ORDER
                                         __________

         On May 31, 2012, defendant filed an unopposed motion for a 60-day enlargement of time
to file its response. The motion is hereby GRANTED. Accordingly, on or before August 10,
2012, defendant shall file its response. No further enlargements will be granted.

       IT IS SO ORDERED.



                                                  s/ Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
